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                                                                February 7, 2020

        The Hon. Frederic Block
        United States District Judge
        Eastern District of New York
        225 Cadman Plaza
        Brooklyn, New York 11201
        Via ECF

                       Re:     United States v. Mark Kocaj,
                               Indictments 19-CR-575 (FB) & 19-Cr-577 (FB)
                               Motion to Modify Conditions of Bail for Employment

        Dear Judge Block:

                The defendant is at liberty upon terms of bail that include home detention, GPS monitoring, and
        a $600,000 bond secured by property and financially responsible individuals. A copy of the release order
        is attached here. To date the defendant has been in full compliance with the conditions. The defendant
        seeks to modify the terms of release to add an employment related curfew. The release order states that
        the defendant can be employed as approved by Pre-Trial Services.

               The defendant has been presented with the opportunity to work for an elevator company based in
        Mt. Vernon, New York. Pre-trial services have approved his job interviews thereat and I am unaware of
        any objections to this request. The defendant would report to the Mt. Vernon office each morning and
        receive a list of work sites that require his presence during the day. All of the potential locations are
        located in Bronx and Westchester Counties. The nature of the work at each site and travel/traffic
        conditions do not allow a specific timetable of the defendant’s presence. Accordingly, to fulfill his
        employment responsibilities, the defendant would need to leave his home at 7:00 am each day and
        would return no later than 7:00 pm. He would continue to wear the monitoring device and hence the
        Government would be aware of his location, real time, at all times.

                 Mr. Kocaj’s arrest in this case has caused great economic and personal distress. He lost his
        well-paying job and related benefits. He has had to enroll in medicare. Like the rest of us, he has many
        bills to pay as the primary financial provider for his family, including: his home mortgage, insurance,
        gas and electric, food, cable, telephone, medical, his son’s college related expenses and attorney fees. He
        will not be able to meet his commitments if he doesn’t work. His trade has always been in construction
        and he had a job opportunity in that field that pays far better than the elevator company, but Government
        opposition prevented him from landing that spot. Indeed, when we argued before Your Honor on the last
        date, the Government said it didn’t oppose the defendant working in a field other than construction.
        Accordingly, he accepted its invitation and has an opportunity.


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         A mutually agreeable solution was sought with the Government but its demand that the
defendant obtains – in advance - a schedule of locations to visit each day is unworkable given the nature
of the work. The business is based upon daily responses to need for services and repairs in buildings and
that list changes daily and constantly. At bottom, the Government believes that the defendant must be
supervised at every moment of the day to guard against whom he may interact with. The only way to
accomplish that, would be to have an agent surveil him 24/7. That restriction on a mature man with no
criminal record is unreasonable and effectively denies a man with his work experience the right to work.
There are sufficient restrictions already set out in the release order to prevent improper associations. The
continued supervision by Pre-trial Services with gps monitoring provides more than a sufficient level of
monitoring.

        Accordingly, the defendant requests a modification of the terms of release to impose an
employment related curfew that permits him to leave his home Monday thru Friday at 7:00 am and
return to his home no later than 7:00 pm. All other conditions, including continued gps location
monitoring remain in place.



                                                                      Respectfully,

                                                                           /s
                                                                      Christopher Booth

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